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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

EMILIANO RODRIGUEZ-RODRIGUEZ,                   §
et al,                                          §
                                                §
       Plaintiffs,                              §
                                                §
v.                                              §       CIVIL ACTION NO. 3:15-cv-3815-L
                                                §
BIG BIRD TREE SERVICE, INC., et al,             §
                                                §
       Defendants.                              §

             NOTICE OF MAILING OF NOTICES OF PENDENCY OF FLSA
                 LAWSUIT TO COLLECTIVE ACTION MEMBERS

       On this day, October 20, 2016, notices of the pendency of this conditionally certified

FLSA collective action were transmitted to identified current and former employees of

Defendants so that they will have the opportunity to opt-in to this lawsuit. Pursuant to this

Court’s Order, ECF Doc. 77, the 60 day opt-in period shall begin to run 3 days after today, and

will close on December 22, 2016.

                                          Respectfully submitted,

                                          By:       s/ Allen Vaught
                                                    Allen R. Vaught, TX Bar No. 24004966
                                                    Melinda Arbuckle, TX Bar No. 24080773
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                                 CERTIFICATE OF SERVICE

        On October 20, 2016, I electronically submitted the foregoing document with the clerk of
court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the Court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

        I further certify that Manasseh A. Philip was served with this filing via First Class U.S.
Mail by placing same in an official repository of the U.S. Postal Service on October 20, 2016
using the address on file with the court: Mr. Manasseh A. Philip, A#26899298, # W-2-A107-IL,
10250 Rancho Road, Adelanto, CA 92301 and cc to Ernest Jack Hill, III, 9411 South Central Blvd,
Los Angeles, CA 90002. However, in researching Mr. Philip’s current whereabouts, it appears he has
been moved to a different detention center, and therefore another copy of this filing was sent to him
via First Class U.S. mail at Theo Lacy Facility, 501 The City Drive South, Orange, CA 92868.

                                                      s/Allen R. Vaught
                                                      Allen R. Vaught




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